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                               United States Bankruptcy Court
                                 Eastern District of Virginia
                                     Alexandria Division

In re:

WW Contractors, Inc.,                                  Case No. 18-12095-BFK

         Debtor.                                       Chapter 11

                                           Hearing: August 14, 2018, at 11:00 am
                                                    Courtroom I, 2nd Floor

                        Objection to the Employment of
          Saul Ewing Arnstein & Lehr LLP as Special Litigation Counsel

   Comes Now, John P. Fitzgerald, III, Acting United States Trustee for Region 4,

and files this objection to the Debtor’s Application to Approve the Employment of

Saul Ewing Arnstein & Lehr LLP (“Applicant”) as Special Litigation Counsel to

the Debtor. Docket No. 52.

   In support of this objection the following representations are made:

   1. Pre-petition, the Debtor commenced litigation against Sarai Investment

         Corporation and related parties in the Circuit Court of Maryland for

         Baltimore City in which the Debtor alleged numerous causes of action

         against the Defendants. The litigation was subsequently removed to the

         United States District Court for the District of Maryland. Application, ⁋ 4.

John P. Fitzgerald, III
Acting United States Trustee
For Region 4
Jack Frankel, Attorney
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   2. Pre-petition, the Debtor had retained the Business & Technology Law Group

      to represent the Debtor in this litigation. Application, footnote 1.

   3. The Debtor now wants to replace the Business & Technology Law Group

      and retain the Applicant for the district court litigation.

   4. The Debtor wants the Court to approve the employment of the Applicant

      pursuant to Section 327(a) of the Bankruptcy Code. Application ⁋ 2.

                                     Objections

Basis for Employment Under Section 327(a) Not Explained

   1. It is unclear why the Debtor seeks the Court to approve the employment of

      the Applicant under Section 327(a) instead of 327(e) of the Bankruptcy

      Code.

   2. The United States Trustee assumes from representations made by the

      Debtor’s representative at the meeting of creditors that the district court

      litigation is central (or critical) to the reorganization of the Debtor.

   3. A law firm employed as special counsel cannot represent a debtor in

      “conducting the case.” In re Running Horse, L.L.C. (371 B.R. 446, 453)

      (Bankr. E.D. CA 2007).

   4. Section 327(e) of the Bankruptcy Code allows an exception to the rule that

      professionals retained by the estate must be both disinterested and not hold

      or represent an interest adverse to the estate. 11 U.S.C. Section 327(a).
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   5. Section 327(e) of the Bankruptcy Code states:

       (e) The trustee, with the court's approval, may employ, for a

       specified special purpose, other than to represent the trustee in

       conducting the case, an attorney that has represented the debtor, if in

       the best interest of the estate, and if such attorney does not represent

       or hold any interest adverse to the debtor or to the estate with respect

       to the matter on which such attorney is to be employed.

      (emphasis added)

   6. The special purpose must be unrelated to the reorganization. In re

      Congloeum Corp., 426 F.3d. 675, 689 (3rd Cir. 2005) (“The “special

      purpose” must be unrelated to the reorganization and must be explicitly

      described in the application.”

   7. Section 327(e) should not be used to bypass the requirements of Section

      327(a). As Judge Tice stated in In re Tidewater Memorial Hosp., Inc. 110

      B.R. 22, 227 (1989):

             A purpose of § 327(e) is to allow counsel who cannot

            meet the disinterestedness requirement of § 327(a)

            nevertheless to render valuable services to the debtor in

            matters where counsel has no adverse interest. § 327(e) is

            specific, however, in prohibiting special counsel from
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            representing the debtor “in conducting the case”. 11

            U.S.C. § 327(e) (1988).

   8. In a recent case considering Section 327(e) employment, Roper and

      Twardowsky, LLC, 566 B.R. 734 (Bankr. NJ 2017), the court stated, having

      surveyed the law in other cases, that the employment of special counsel

      should be denied if the services to be rendered by proposed special counsel

      “overlapped” those normally performed by general bankruptcy counsel.

      The plain language of Section 327(e) makes it clear that a

      trustee “may employ [counsel], for a specified special purpose,

      other than to represent the trustee in conducting the

      case....” 11 U.S.C. § 327(e) (emphasis added). Case law

      examining this quoted portion of the statute is limited.

      However, a survey of available case law illustrates a pattern

      where courts have refused to authorize the employment of

      special counsel—whose services would overlap with those

      customarily reserved for general bankruptcy counsel—

      regardless of how much familiarity with and understanding of

      the debtor's affairs special counsel brings to the case

      In re Roper & Twardowsky, LLC, 566 B.R. 734, 750 (Bankr.
      D.N.J. 2017) (italic emphasis added).
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   In the present case, it appears that the Applicant would be involved in a matter

central to the reorganization of the Debtor. The Applicant would be conducting

the case. As stated in In re Running Horse, LLC 371 B.R. 446, 453 (Bankr. E.D.

CA 2007 “The term “conducting the case” is not defined in the Bankruptcy Code.

However, the term has been recognized to include matters related to formulation of

a chapter 11 plan, and/or liquidation of the debtor's assets.” Accordingly, the

Applicant would not be a special counsel because the employment is central to the

reorganization of the Debtor.

Basis for Causes of Action to be Pursued in District Court Not Disclosed

   9. The Application does not provide sufficient information regarding the nature

      of the Debtor’s “alleged numerous causes of action.” In other words, what

      did Sarai Investment Corporation and related parties do or not do to the

      Debtor? What are the Debtor’s damages?

   10. Without this information, the Application should not be approved.

No Retainer Agreement Attached

   11. A copy of the Applicant’s retainer agreement with the Debtor,

      if any, should have accompanied the Application.

Amount(s) Paid to Prior Counsel Not Disclosed

   12. The Application should disclose the amount(s) paid and date(s)

      paid to prior counsel, Business & Technology Law Group. The
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      Application should also disclose whether there is any unpaid

      amount due prior counsel.

Method for Objecting to Application Not Disclosed

   13. The Application does not disclose the method of objecting to

      the Application as required by Local Bankruptcy Rule 2014-1.

      The rule states in part:

        RULE 2014-1 SERVICE OF MOTION FOR AN ORDER
       AUTHORIZING EMPLOYMENTIN A CHAPTER 11 CASE

       The motion, declaration and any proposed order shall be served on the
       parties listed below. Any party moving for an order authorizing
       employment in a proceeding under chapter 11 of the Bankruptcy Code
       shall, in plain language, inform all such parties of the filing of the
       motion, disclosing in full and complete detail any actual or potential
       conflicts of interest, and shall specify the method for objecting to the
       proposed order. Any objections to the proposed employment shall be
       made in writing, filed with the Court, with a copy served on the movant
       and the parties listed below, within 14 days from the date of service of
       the motion.

       (emphasis added)

   14. Creditor and public confidence in the administration of bankruptcy cases

      rests upon the adherence to the rules governing the employment of

      bankruptcy professionals.

   15. Wherefore, the Application should be denied.

July 25, 2018                                     John P. Fitzgerald, III
                                                  Acting United States Trustee
                                                  For Region 4

                                                  /s/ Jack Frankel
                                                  Jack Frankel, Attorney
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                              Certificate of Service

   I hereby certify that on the 25th day of July, 2018, I e-mailed a copy of this
objection and notice of objection and hearing to Aryeh E. Stein, Esq., Attorney for
Debtor, Email: astein@meridianlawfirm.com.

                                      /s/ Jack Frankel
